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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

ST. CLAIR COUNTY EMPLOYEES’                   No. 0:19-cv-02863-WMW-KMM
RETIREMENT SYSTEM, Individually and
on Behalf of All Others Similarly Situated,
                               Plaintiff,
v.
RESIDEO TECHNOLOGIES, INC.,
MICHAEL G. NEFKENS and JOSEPH D.
RAGAN III,
                               Defendants.

HOLLYWOOD FIREFIGHTERS’                       No. 0:19-cv-02889-WMW-KMM
PENSION FUND, individually and on
behalf of all others similarly situated,
                               Plaintiff,
v.
RESIDEO TECHNOLOGIES, INC.,
MICHAEL G. NEFKENS, and JOSEPH D.
RAGAN III,
                              Defendants.

FRAMPTON LIVING TRUST,                        No. 0:19-cv-03133-WMW-KMM
individually and on behalf of all others
similarly situated,
                               Plaintiff,
v.
RESIDEO TECHNOLOGIES, INC.;
MICHAEL G. NEFKENS; and JOSEPH D.
RAGAN III,
                              Defendants.


GABELLI ASSET FUND, THE, on behalf            No. 0:20-cv-00094-WMW-KMM
of themselves and all others similarly
situated; GABELLI DIVIDEND &
INCOME TRUST, THE, on behalf of
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themselves and all others similarly situated;
GABELLI EQUITY TRUST, INC., THE,
on behalf of themselves and all others
similarly situated; GABELLI
MULTIMEDIA TRUST INC., THE, on
behalf of themselves and all others
similarly situated; GABELLI VALUE 25
FUND INC., THE, on behalf of themselves
and all others similarly situated; GAMCO
INTERNATIONAL SICAV, on behalf of
themselves and all others similarly situated;
and GAMCO ASSET MANAGEMENT
INC., on behalf of themselves and all others
similarly situated;


                                      Plaintiffs,
v.
RESIDEO TECHNOLOGIES, INC.;
HONEYWELL TECHNOLOGIES INC.;
MICHAEL G. NEFKENS; and JOSEPH D.
RAGAN, III;
                                      Defendants.


ORDER FOR CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF, AND
            APPROVAL OF SELECTION OF COUNSEL

        On January 14, 2020, lead plaintiff movants the Gabelli Plaintiffs, the Naya Group

and the Alaska & Oklahoma Group1 filed stipulations (the “Stipulations”) concerning the

appointment of Lead Plaintiffs and additional class representatives in the above-captioned




1
         The Gabelli Plaintiffs consist of the following parties: The Gabelli Asset Fund, The Gabelli Dividend &
Income Trust, The Gabelli Equity Trust Inc., The Gabelli Focus Five Fund, The Gabelli Multimedia Trust Inc., The
Gabelli Value 25 Fund Inc., GAMCO International SICAV, and GAMCO Asset Management Inc. The Naya Group
consists of the following movants: Naya 1740 Fund. Ltd., Naya Coldwater Fund Ltd., Naya Master Fund LP and
Nayawood LP. The Alaska & Oklahoma Group consists of Alaska Electrical Pension Fund and Oklahoma
Firefighters Pension and Retirement System.


                                                       2
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class actions (the “Actions”), consolidation of the actions, and approval of counsel.2 For

the reasons stated in the Stipulations and for good cause shown, the Court GRANTS the

requests set forth in the Stipulations.

         IT IS HEREBY ORDERED:

         1.       The Actions and any later-filed related actions shall be consolidated into a

single class action (the “Consolidated Action”) under the title In re Resideo

Technologies, Inc. Securities Litigation. All orders, pleadings, motions, and other

documents served or filed in this Consolidated Action shall have the caption In re

Resideo Technologies, Inc. Securities Litigation,” Case No. 19-cv-2863 (WMW/KMM).

The individual Actions shall remain open, but all filings will take place in the

Consolidated Action. The Clerk of Court is directed to add all the parties and their

attorneys from Case Nos. 19cv2889 (WMW/KMM); 19cv3133 (WMW/KMM); and

20cv94 (WMW/KMM) to the docket for the newly renamed Consolidated Action. All

pro hac vice admissions made in all of the individual Actions are valid for the

Consolidated Action;

         2.       As of the date of this Order, all documents will be filed in the Consolidated

Action, Case No. 19-cv-2863 (WMW/KMM). The files in this Consollidated Action will

be maintained under Master File No. 19cv2863 (WMW/KMM), and all future orders,

pleadings, motions and other documents when docketed in the Master file shall be

deemed to as lobe filed and docketed in the related individual Actions. When any


2
        The Stipulations are filed in the individual actions at the following docket entries: (1) for Case No. 19-cv-
2863, ECF No. 35; (2) for Case No. 19-cv-2889, ECF No. 24; (3) for Case No. 19cv3133, ECF No. 21; and (4) for
Case No. 20-cv-94, ECF No. 13.


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pleading is filed, it must specify in the caption that it is either filed as to all of the

consolidated matters or as to a single case, which must be specified;

       3.      When the Court issues a scheduling order, it will be issued only in the

Consolidated Action, but will govern all of these related matters;

       4.      Further specifics concerning the coordinated and consolidated management

of these related matters will be addressed by the Court and the parties at an appropriate

case management conference, to be scheduled by the Court;

       5.      One or more Gabelli Plaintiffs will be appointed and will serve as lead

plaintiff(s) for the class in the Consolidated Action;

       6.      One or more members of the Naya Group will be appointed and will serve

as lead plaintiff(s) for the class in the Consolidated Action;

       7.      One or both members of the Alaska & Oklahoma Group will serve as

additional class representative(s) in the Consolidated Action;

       8.      The Gabelli Plaintiffs’ counsel, Entwistle & Cappucci LLP, and the Naya

Group’s counsel, Labaton Sucharow LLP, will together serve as co-lead counsel for the

class in the Consolidated Action.

       9.      The Alaska & Oklahoma Group’s counsel, Robbins Geller Rudman &

Dowd LLP, will serve as additional plaintiffs’ counsel in the Consolidated Action;

       10.     The firm of Chestnut Cambronne PA will serve as plaintiffs’ liaison cousel

in the Consolidated Action;

       11.     Lead Plaintiffs and the class representative(s) will file their consolidated

amended class action complaint within 60 days after entry of this Order; and


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       12.    The motions for consolidation and appointment of lead plaintiffs/counsel in

the individual Actions (No. 19cv2863, ECF Nos. 18, 22, 28; No. 19cv2889, ECF Nos. 9,

13; No. 19cv3133, ECF Nos. 10, 14; and No. 20cv94, ECF No. 2) are DENIED AS

MOOT.

Date: January 27, 2020
                                                        s/Katherine Menendez
                                                       Katherine Menendez
                                                       United States Magistrate Judge




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